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10
                              IN THE UNITED STATES DISTRICT COURT
11
                          FOR THE SOUTHERN DISTRICT OF CALIFORNIA
12
13
     UNITED STATES OF AMERICA,                          Case No. 18-CR-4683-GPC
14                                                      Honorable Gonzalo P. Curiel
15               Plaintiff,
                                                        SUPPLEMENT TO DEFENDANT
16 v.                                                   PACAS’S UNOPPOSED MOTION
                                                        TO MODIFY THE TRIAL
17                                                      SCHEDULE; REQUEST FOR
     JACOB BYCHAK, et al.,                              TELEPHONIC STATUS
18                                                      CONFERENCE RE SAME
19        Defendants.

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23               Defendant Petr Pacas, by and through counsel of record, submits this
24 Supplement to Defendant Pacas’s Unopposed Motion to Modify the Trial Schedule
25 and Request for Telephonic Status Conference re: Same (the “Motion”), filed on
26 January 31, 2022. (See Dkt. 323.)
27               In the Motion, counsel for Defendant Pacas proposes that the first week of
28 trial consist of trial on May 23-25, 2022, rather than May 24-27, 2022. This
     3773288.1                                                     Case No. 18-CR-4683-GPC
       SUPPLEMENT TO DEFENDANT PACAS'S UNOPPOSED MOTION TO MODIFY THE TRIAL SCHEDULE
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 1 Supplement is to clarify the footnote in the Motion. In footnote one, Defendant
 2 Pacas also raises the possibility of taking a break in the trial during the week of June
 3 21-24, 2022. The Government opposes taking this break.
 4
 5                                          Respectfully submitted,
 6    Dated: February 1, 2022             BIRD, MARELLA, BOXER, WOLPERT,
                                          NESSIM, DROOKS, LINCENBERG &
 7                                        RHOW, P.C.
 8                                        By: s/ Gary S. Lincenberg
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 9                                            Nicole Rodriguez Van Dyk
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10                                            Alexis A. Wiseley
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 1                                  CERTIFICATE OF SERVICE
 2               Counsel for Defendants certify that the foregoing pleading has been
 3 electronically served on the following parties by virtue of their registration with the
 4 CM/ECF system:
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 4
        I certify under penalty of perjury under the laws of the United States of
 5 America that the foregoing is true and correct.
 6
                 Executed on February 1, 2022, at Los Angeles, California.
 7
                                                            s/Alexis A. Wiseley
 8
                                                            Alexis A. Wiseley
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